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                      UNITED STATES BANKRUPTCY COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


In re:
                                                                  Case No.: 17-12030-AJC
Michael Russel Day and
Janice Camille Diana Harris Day,                                  Chapter 13

         Debtor(s).


 TRUSTEE'S MOTION TO REDIRECT PAYMENT OF JPMORGAN CHASE BANK NA
       D/B/A CHASE AUTO FINANCE AND CERTIFICATE OF SERVICE
                       OF NOTICE OF HEARING

         Nancy K. Neidich, Standing Chapter 13 Trustee, files the instant Motion to Redirect

Payment and states as follows:

         1.     The Debtor filed a Voluntary Bankruptcy Petition under Chapter 13 of the

Bankruptcy Code on February 20, 201 7.

         2.     Debtor's confirmed Chapter 13 Plan [ECF No. 56] lists payments to JPMorgan

Chase Bank, N.A., d/b/a Chase Auto Finance.

         3.    JPMorgan Chase Bank, N.A., d/b/a Chase Auto Finance has returned funds in the

amount of $24.38 to the Trustee indicating that the claim has been paid in full and $113.56

indicating that it had no interest in the funds as the account had been closed. Attached as Exhibit

"A" is the correspondence received by the Trustee from JPMorgan Chase Bank, N.A., d/b/a

Chase Auto Finance.

         4.    The Trustee seeks authorization to redirect any remaining payments designated to

JPMorgan Chase Bank, N.A., d/b/a Chase Auto Finance to be paid pro-rata to general unsecured

creditors, or, if none, to the Debtor.

         WHEREFORE, the Trustee requests the Court enter an order allowing the Trustee to

redirect funds designated to JPMorgan Chase Bank, N.A., d/b/a Chase Auto Finance to be paid

pro-rata to general unsecured creditors, or, if none, to the Debtor and for any further relief the

Court deems necessary.
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                                                     Respectfully submitted:
                                                     NANCY K. NEIDICH,
                                                     Standing Chapter 13 Trustee


                                               By:
                                                         WJV(fa~
                                                      Gianny Blanco, Esq.
                                                      FLORIDA BAR NO: 0078080
                                                      P.O. BOX 279806
                                                      MIRAMAR, FL 33027
                                                     (954) 443-4402

Dated:      JurJe. 10,   1..o1. 2.


                                     CERTIFICATION OF SERVICE

            certify   that   a   true    and   correct copy   of the   foregoing   was   served   on
  JUNE 30 ,      ~1.1-               , via CM/ECF on Counsel for the Debtor and Counsel for the
Creditor.


JPMorgan Chase Bank, N.A.
d/b/a Chase Auto Finance
c/o Aldridge Pite, LLP.,
Attn: Wanda D. Murray, Esq.,
3575 Piedmont Road, N.E., Suite 500
Atlanta, GA 30305
(Proof of Claim number 5)

JPMorgan Chase Bank, N .A.
d/b/a Chase Auto Finance
P.O. Box 29505
AZl-1191
Phoenix, AZ 85038-9505




                                                     Gianny Blanco, Esq.
                        Case 17-12030-LMI        Doc 119            Filed 06/30/22            Page 3 of 6

                                                                                                SunTrust Lockbox Services
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Check No: 101115459 Acct No:    4604 Amount: $24.38 Batch: 900 Transaction: 4 Image: 1


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                             Case 17-12030-LMI                       Doc 119             Filed 06/30/22                 Page 4 of 6

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         CHASE~Auto                                                          \,,    1-877-905-0908
         PO Box 182055                                                        We accept operator relay calls
         Columbus, OH 43218-2055




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         NANCY NEIDICH· CH13 TRUSTEE
         POB 279806
         MIRAMAR FL 33027
                                                                                         December 24, 2021




         Vehicle:                          11 MAZDA CX-9
         VIN:                              JM3TB2CAOB0322526
         Case Number:                      CASE #17-12030


         Action Needed:                Please stop making disbursements




        To Whom It May Concern:

        We're glad we could service this account. We have enclosed a check for the funds received because the
        account Is now closed.

        Please do not make any further disbursements.

        If you have questions, please call us at 1-877-905-0908.

        Sincerely,

        Chase Auto
        Enclosure


        This letter is for informational purposes only and Is not an attempt to collect a debt for which personal liability
        has been discharged in a Bankruptcy case or from a debtor that Is in an open Bankruptcy case subject lo the
        automatic stay.

                                     Esta carta contiene lnformaci6n importante de la cuenta.
                                   Si tlene alguna pregunta, porfavor !lame al 1-877-905-0908.
                        Case 17-12030-LMI         Doc 119               Filed 06/30/22             Page 5 of 6

                                                                                                     SunTrust Lockbox Services
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      PAY    NANCY K. NEIDICH
      TO     CH.13 STANDING TRUSTEE
     THE     PO BOX 278783
    ORDER    MIRAMAR, FL 33027
      OF


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Check No: Acct No: Amount: Batch: 908 Transaction: 1 Image: 3



                                                                                          Questions?
           CHASE@Auto                                                                     1-800-336-6675
           PO Box 182055                                                            We accept operator relay calls
           Columbus, OH 43218-2055




           00000 OSTOO\ 01822 NNNNNNNNNNNt~ CSR265 L
           NANCY K. NEIDICH OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
           P.O. BOX 278783
           MIRAMAR FL 33027
                                                                                               January 1B, 2022




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           Vehicle:
           VIN:                                  JM3TB2CAOB0322526
           Customer(s):                          MICHAEL R DAY




           Update:                   Here's a check




          To Whom It May Concern:

          Thank you for doing business with us.

          We enclosed a check because:

                          You sent a check far a closed account. We are returning It to you because we are not claiming
                          any Interest to this payment. Please ensure tha11he proper party or customer receives the
                          payment.


          If you have questions, please call us at 1·800-336-6675.




          Chase Auto Finance
          Enclosure


                                             Esta carta contiene lnformaci6n lmportante de la cuenta.
                                           SI tiene alguna pregunta, par favor flame al 1-800-336-6675.




 REC'D CH 13 TRUSTEE
 2022 JAN 25 AMl1:54




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